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                               No. 24-10277


               IN THE UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


           INSURANCE MARKETING COALITION LIMITED,

                                                       Petitioner,
                                     v.

           FEDERAL COMMUNICATIONS COMMISSION and
                 UNITED STATES OF AMERICA,
                                                       Respondents.

                   ON PETITION FOR REVIEW OF AN ORDER OF
                  THE FEDERAL COMMUNICATIONS COMMISSION


                OPENING BRIEF OF PETITIONER
          INSURANCE MARKETING COALITION LIMITED


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May 15, 2024
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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rules 26.1-2(c) and 42-1(a), Petitioner Insurance

Marketing Coalition Ltd. (IMC) hereby submits a full list of persons and entities

known to IMC to have an interest in the outcome of this case:

         1. Aggarwal, Sameer, associate, Covington & Burling LLP, counsel for

            Petitioner;

         2. Boeglin, John A., associate, Covington & Burling LLP, counsel for

            Petitioner;

         3. Citrin, Sarah E., Federal Communications Commission, counsel for

            Respondent Federal Communications Commission;

         4. Covington & Burling LLP, counsel for Petitioner;

         5. Dori, Yaron, partner, Covington & Burling LLP, counsel for Petitioner;

         6. Dunne, Matthew J., Federal Communications Commission, counsel for

            Respondent Federal Communications Commission;

         7. Ellison, P. Michele, Federal Communications Commission, counsel for

            Respondent Federal Communications Commission;

         8. Federal Communications Commission, Respondent;

         9. Glover, Matthew J., special counsel, Covington & Burling LLP,

            counsel for Petitioner;


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         10. Insurance Marketing Coalition Limited, Petitioner;

         11. King, Kevin F., partner, Covington & Burling LLP, counsel for

            Petitioner;

         12. Lewis, Jacob Matthew, Federal Communications Commission, counsel

            for Respondent Federal Communications Commission;

         13. Nicholson, Robert B., U.S. Department of Justice, counsel for

            Respondent United States of America;

         14. United States of America, Respondent;

         15. Wiggers, Robert J., U.S. Department of Justice, counsel for Respondent

            United States of America.

      Pursuant to Circuit Rule 26.1-3(b), Counsel further certifies that, to the best

of Counsel’s knowledge, no publicly traded company or corporation has an interest

in the outcome of the case or appeal. Counsel will file an amended certificate of

interested persons should they become aware of a change in interests that would

affect the disclosures as required by Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rule 26.1-4.

      Counsel further certifies that IMC is a tax-exempt corporation incorporated in

Delaware that has its principal place of business in Florida. IMC is an association

that advocates on behalf of insurance industry stakeholders. IMC members interact

with consumers to provide information, education, and meaningful choices related

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to their insurance coverage options. Counsel further certifies that IMC is not a

publicly traded company or corporation, has no parent company or corporation, and

no publicly held company or corporation owns 10 percent or more of IMC’s stock.

                                           /s/ Kevin King
                                           Kevin King

                                           Counsel for Petitioner
                                           Insurance Marketing Coalition Ltd.
May 15, 2024




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               STATEMENT REGARDING ORAL ARGUMENT

        Pursuant to Circuit Rule 28-1(c), Petitioner Insurance Marketing Coalition

Ltd. (IMC) respectfully requests oral argument. Oral argument is warranted because

this case presents important questions about the lawfulness of the Federal

Communications Commission’s Order,* including whether the Order exceeds the

Commission’s statutory authority under the Telephone Consumer Protection Act;

whether the Order violates the First Amendment; and whether the Order is arbitrary

and capricious in violation of the Administrative Procedure Act.

        The Order will affect businesses and consumers across the nation, as

illustrated by the 119 distinct comment letters filed in the underlying rulemaking

proceeding. See Order, Appendix A. Oral argument would assist the Court in

assessing the evidentiary record and determining whether the Commission acted

unlawfully when it adopted the Order.




*
 Second Report and Order, In re Targeting and Eliminating Unlawful Text
Messages, Rules and Regulations Implementing the Telephone Consumer Protection
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                      STATEMENT OF JURISDICTION

      The Order is a final order adopted by the Commission on December 13, 2023,

and released to the public on December 18, 2023. A summary of the Order was

published in the Federal Register on January 26, 2024.           See Targeting and

Eliminating Unlawful Text Messages, Implementation of the Telephone Consumer

Protection Act of 1991, Advanced Methods to Target and Eliminate Unlawful

Robocalls, 89 Fed. Reg. 5098, 5098 (Jan. 26, 2024).

      Insurance Marketing Coalition Ltd. (IMC) petitioned this Court for review of

the Order on January 26, 2024. This Court has subject-matter jurisdiction to review

the Order under 47 U.S.C. § 402(a) and 28 U.S.C. §§ 2342(1) and 2344. IMC has

standing to assert the rights of its members because its members would have standing

to sue in their own right, the interests at stake are germane to IMC’s organizational

purpose, and neither the claims asserted nor the requested relief requires the

participation of individual members. See S. River Watershed All., Inc. v. DeKalb

Cnty., 69 F.4th 809, 819 (11th Cir. 2023). IMC’s members are aggrieved by the

Order as explained in IMC’s comments in the underlying proceeding and in the

declarations of two IMC members filed in support of IMC’s stay petition. See Doc.

20-2; Doc. 20-3.




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                                INTRODUCTION

      Americans detest calls they did not ask for. But this is not a case about

unsolicited calls. It is a case about the Federal Communications Commission’s

misguided efforts to make it harder for people to receive calls about things like

insurance rates that they want, and have expressly asked, to receive.

      The Commission’s Order purports to implement provisions of the Telephone

Consumer Protection Act (TCPA), 47 U.S.C. § 227. Under the TCPA, a caller

generally must obtain “prior express consent” to place an automated call to a mobile

number. 1 For decades, courts and the Commission have interpreted that term in a

way that allows comparison shopping websites to quickly and efficiently connect

comparison shoppers with the businesses best positioned to meet their needs. That

framework has been beneficial for small businesses, such as local insurance offices

and handyman services, because it has provided an inexpensive way to reach new

customers and compete with larger, more sophisticated rivals. Comparison shoppers

have benefitted as well, due to the broader range of choices and better matches the

consent rules have made possible.

      The Order discards that longstanding framework and replaces it with a rigid

scheme that will reduce consumer choice, drive small businesses from the market,


1
  This brief uses “calls” as shorthand for calls and text messages and “automated
calls” for calls placed “using any automatic telephone dialing system or an artificial
or prerecorded voice.” 47 U.S.C. § 227(b)(1)(A).
                                          1
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and devastate many companies that partner with and rely on comparison shopping

websites to connect with potential customers. In addition, the Order singles out only

marketing calls for additional regulation—based solely on the content of the

message shared on the call—even though the TCPA does not distinguish between

marketing and nonmarketing calls in this context.

      Specifically, the Order redefines the TCPA term “prior express consent” for

marketing calls, and only marketing calls, to encompass two additional elements.

First, consumers may provide consent to marketing calls only on a “one-to-one”

basis, requiring consumers to separately consent to each business that might later

contact them. Second, consumers may only consent to marketing calls that are

“logically and topically related” to the website that solicits the consent, even if the

website expressly informs the consumer about the subject of the call and the

consumer expressly asks to receive it.

      These additional requirements exceed the Commission’s authority under the

TCPA, violate the First Amendment, and are arbitrary and capricious under the

Administrative Procedure Act (APA).

      First, the Order exceeds the Commission’s authority by interpreting the

phrase “prior express consent” in a way that conflicts with the TCPA. The Order

gives that phase two different meanings depending on the nature of a call, in

violation of the rule that agencies “must interpret the statute consistently,” Clark v.

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Martinez, 543 U.S. 371, 380 (2005), and it compounds that error by imposing

requirements that go well beyond the ordinary meaning of “prior express consent.”

      Second, the Order violates the First Amendment by applying content-based

discrimination against commercial marketing calls. The Supreme Court invalidated

another part of the TCPA on that basis in Barr v. American Association of Political

Consultants, Inc., 140 S. Ct. 2335 (2020), and the same reasoning applies here.

Moreover, even if addressed under intermediate scrutiny, the Order violates the First

Amendment because the Commission has failed to show that its additional consent

requirements would serve a substantial interest and are not more extensive than

necessary.

      Third, the Order flunks the APA’s requirement of reasoned decisionmaking

because its additional consent requirements are not supported by the record, it fails

to meaningfully respond to comments from Petitioner Insurance Marketing

Coalition Ltd. (IMC) and others (including proposals for more narrowly tailored

alternatives), and it does not account for the adverse effects its new restrictions will

have on small businesses. As Commissioner Simington recognized in dissent, “the

factual record on the question of 1-to-1 consent is so thin, and the [Order] so

impoverished in its reasoning … that it gives every appearance of an arbitrary and

capricious action.” Appendix (A) 70.




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      IMC recognizes that unwanted calls are a genuine problem that the

Commission has authority to address through reasonable and constitutional

regulations. But as the Supreme Court has emphasized, rulemaking authority is not

a blank check: agencies must abide by the limits on their power and may not “rewrite

clear statutory terms to suit [their] own sense of how the statute should operate.”

Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014). Nor can agencies implement

content-based restrictions on speech unless they are able to satisfy strict scrutiny.

See Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

      This Court should set aside Part III.D of the Order because the Commission

failed to follow those bedrock principles. Granting that relief would help remedy

the harm to IMC’s members, while leaving the Commission many other enforcement

tools—including significant new tools adopted in parts of the Order not challenged

here—to prevent automated calls and texts from bad actors.

                        STATEMENT OF THE ISSUES

      1. Whether the Order’s redefinition of the statutory term “prior express

consent” exceeds the Commission’s authority.

      2. Whether the Order violates the First Amendment by imposing a content-

based restriction on protected speech.

      3. Whether Part III.D of the Order should be set aside under the

Administrative Procedure Act because it is not supported by the record, does not


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meaningfully respond to significant comments, and fails to adequately consider its

impact on small businesses.

                          STATEMENT OF THE CASE

      A.     Statutory and Regulatory Background

      In 1991, Congress enacted the TCPA to protect Americans from unwanted

calls made using automated telephone equipment.          Under the TCPA, a caller

generally must obtain the recipient’s “prior express consent” before making an

automated call.    47 U.S.C. § 227(b)(1).       The TCPA also provides that the

Commission may make certain exemptions from the “prior express consent”

requirement “by rule or order.” Id. § 227(b)(2). For example, the Commission may

exempt any calls “not made for a commercial purpose,” and it may exempt any

commercial calls that it determines “will not adversely affect the privacy rights” the

TCPA protects and “do not include the transmission of an unsolicited

advertisement.” Id.

      The TCPA does not define the term “prior express consent,” and this Court

has interpreted the statute as “incorporat[ing] the common law concept of consent.”

Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255 (11th Cir. 2014). The

upshot is that each individual (rather than the government or any third party) controls

his or her own consent and “may limit” the scope of consent in various ways—for

example by “consen[ting] to one act but not another … or to acts under some


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conditions but not others.” Schweitzer v. Comenity Bank, 866 F.3d 1273, 1276 (11th

Cir. 2017) (citation omitted).

      In 2012, the Commission issued regulations interpreting “prior express

consent” to mean “prior express written consent” where an automated call is made

for marketing purposes. In re Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, 27 FCC Rcd. 1830 (Feb. 15, 2012) (2012 Order)

(emphasis added). Under these regulations, other types of automated calls may

continue to rely on non-written consent, including verbal consent. See 47 C.F.R.

§ 64.1200(a)(2) (requiring “prior express written consent” only for calls that

“includ[e] or introduc[e] an advertisement or constitut[e] telemarketing”).

      B.     IMC and the Performance Marketing Industry

      Performance marketing (sometimes referred to as “lead generation”) often

takes place on comparison shopping websites, which provide a one-stop means of

comparing options for health insurance, auto loans, home repairs, and other

services—thus sparing consumers the burden of identifying and consulting multiple

vendors for information and offers. A107-08. Comparison shopping sites typically

give visitors the option of requesting additional information—such as a quote for

window installation or an insurance policy—from the listed businesses, and website

operators often employ algorithms, questionnaires, or other means to connect

consumers with the businesses that best match their needs. If a consumer consents


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to receive a follow-up call or text message, the website transmits that “lead” to one

or more of those businesses. Because marketers and website operators typically

cannot know in advance which businesses will be the best fit for a particular

consumer, and because making a match before obtaining consent would delay the

process by requiring the consumer to wait on a loading screen, performance

marketers often list many potential businesses when seeking a consumer’s consent

for TCPA purposes, even when only a handful of businesses (or only a single

business) ultimately will receive a lead or contact the consumer.

      For example, consumers searching for home service repairs may visit a

website like HomeOtter.com, which allows consumers to receive quotes from local

service providers. See Doc. 20-3 ¶ 7. Once a consumer submits their request and

consents to receive calls from the listed service providers, a performance marketer

will use its software platform to determine which service provider (or group of

providers) is best situated to meet the consumer’s needs and will pass the consumer’s

request to the service provider(s)—thus allowing them to call the consumer and

provide the requested quote. Id.

      IMC represents a cross-section of stakeholders in the insurance marketing

industry, including large companies as well as “small entities” as that term is defined

in the Regulatory Flexibility Act, 5 U.S.C. § 601. For example, IMC’s members

include small insurers who depend on leads from comparison shopping websites to

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reach new customers and compete with larger firms for business, as well as

performance marketing companies that operate insurance comparison websites and

lead brokers who have networks of performance marketing companies and use them

to furnish leads to insurance providers. Collectively, IMC’s members actively

engage with millions of consumers each year and provide them with information,

education, and meaningful choices related to their insurance coverage and other

service needs. See A91-92; see also A106 (LendingTree has facilitated more than 3

million loans and assisted 111 million consumers over the last 26 years).

      IMC and its members differ from entities that place calls without any

consideration for whether the recipient has consented to the call or whether the calls

otherwise comply with the TCPA. Such calls frequently originate overseas; as the

Commission recently acknowledged in a report to Congress, “[f]oreign-originated

calls are a significant portion, if not the majority, of illegal robocalls.” FCC, Report

to Congress on Robocalls and Transmission of Misleading or Inaccurate Called

Identification Information, 2022 WL 17958839, at *6 (F.C.C. Dec. 23, 2022); see

also In re Sumco Panama SA, 37 FCC Rcd. 15,427, 15,445-46 ¶¶ 42-45 (Dec. 23,

2022). In contrast, IMC’s members invest significant resources into their TCPA

compliance programs to ensure that all the calls they place are, in fact, wanted by

consumers. See, e.g., Doc. 20-2 ¶¶ 19-20.




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      C.    The Commission’s Rulemaking Proceeding

      In March 2023, the Commission issued a Notice of Proposed Rulemaking

seeking comment on new telephone and text messaging regulations.              These

proposals included a TCPA rule that would limit consumers to giving prior express

consent “directly to one entity at a time,” and a related rule that would allow

consumers to grant consent only for “callers” whose messages are “logically and

topically associated with the website that solicits consent.” In re Targeting and

Eliminating Unlawful Text Messages, 38 FCC Rcd. 2744 ¶ 61 (Mar. 17, 2023).

      IMC submitted detailed comments on those proposed regulations.            IMC

agreed that people “should only receive calls that they agree to receive,” A91-92,

and proposed ways the Commission could help reign in bad actors with more

narrowly targeted policies. Specifically, IMC proposed that the Commission require

that, before consumers provide consent, they receive clear and conspicuous

disclosures about (1) “the potential number of callers” for which consent is given,

(2) “the maximum time period during which calls may be received,” and (3) the

“categories of goods or services that may be offered on such calls.” A90.

      IMC’s comments further explained that some of the Commission’s proposals

threatened to limit consumer choice and stymie competition. For instance, requiring

separate consent for each potential caller would result in consumers choosing large,

recognizable brands over smaller, lesser-known companies that lack the advertising


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budgets necessary to obtain the name recognition of their large competitors. See

A97, A150-51. The one-to-one consent requirement would also require consumers

to research and understand the offerings of each smaller service provider before

providing consent, resulting in fewer consumers benefiting from direct competition

between multiple service providers seeking their business. A152-53.

      After the Commission published a draft of the Order, IMC explained that the

draft rested on several false assumptions and failed to account for its effect on small

businesses. For instance, IMC observed that the draft rested on a mistaken factual

premise because “[t]here is zero evidence in the record that any appreciable number

of unwanted calls are attributable to consent records that list more than one seller”

or that are not “logically and topically related” to the website that solicited the

consent. A180. Further, IMC alerted the Commission that the additional consent

requirements would “not make a dent in overall volume of unwanted calls and texts,”

because such calls and texts “are primarily made without consent” in the first place.

A181. For those reasons and others, IMC commented that the Commission’s

proposed redefinition of “prior express consent” would violate the TCPA, the First

Amendment, and the Administrative Procedure Act. A177-85.

      Other parties raised similar concerns. For example, Zillow reasoned that the

draft Order was “not sufficiently tailored to allow for certain contacts that a

consumer wishes to receive,” and therefore recommended that the Commission

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modify the draft to “protec[t] consumers while preserving an adequate degree of

consumer choice and the flexibility to serve consumers in the speedy manner they

expect in the digital age.” A171. Another commenter explained that “[s]addling

consumers looking to make considered comparisons with the obligation to do so

one-product-at-a-time would not, on its face be pro-consumer.” A159. Instead, that

commenter proposed, the Commission could permit consumers to consent to receive

calls from “a limited number of [service providers] to whom the consumer is

matched” after those entities are identified and a notice is provided to the consumer.

A160; see also A112-14 (proposing disclosure of “specific parties to whom the

consent applies after a match has been made”).

      Several parties raised concerns about the Order’s effect on small businesses.

For instance, SolarReviews, a comparison shopping website for solar panels,

cautioned that small companies “cannot compete with the marketing departments of

large corporate solar companies” and therefore “rely on SolarReviews and other lead

generation firms for work and the continued existence of their businesses.” A76,

A107. SolarReviews also conducted a survey of its clients showing that “over 90%

of them believed they would have to lay off staff” if they no longer received leads

from comparison shopping websites.            Id.   Likewise, the Small Business

Administration (SBA) Office of Advocacy highlighted uncertainty regarding the

ability of small businesses “to purchase affordable sales leads, compared to larger

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entities.”     A176.     SBA believed the Commission’s regulatory analyses

“underestimate[d] the impact that the final rule would have on small entities.” Id.

SBA thus asked the Commission to seek additional comment from small entities

about the one-to-one consent rule, and to “conduct a more extensive analysis of the

economic impact the proposal could have on small entities before making a final

decision.” Id.

        D.     The Order

        On December 13, 2023, the Commission adopted the Order, with

Commissioner Simington dissenting in part. Among other things, the Order requires

mobile carriers to block all text messages from numbers identified as sources of

illegal texts and clarifies that the Do-Not-Call List’s protections apply to text

messages. Order ¶¶ 16-29. Those aspects of the Order are not at issue in this suit.

        Part III.D of the Order, which IMC challenges here, interprets the TCPA’s

“prior express consent” requirement to contain two additional requirements—on top

of the written-consent requirement imposed by the 2012 Order—for commercial

marketing calls. 2

        First, the Order requires that prior express consent for marketing calls be

provided on a “one-to-one” basis. Order ¶ 31. As a result, a consumer cannot

consent to receive automated calls from a list of “marketing partners,” even if that


2
    These new requirements are codified at 47 C.F.R. § 64.1200(f)(9).
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list is clearly and conspicuously displayed to the consumer in advance of consent,

and even if the list consists of only two or three businesses. Id. ¶ 32. Instead, a

consumer must separately consent to each individual potential marketer that may or

may not call the consumer. Id.

      Second, the Order requires that “consent obtained on comparison shopping

websites must be logically and topically related to th[e] website” from which it is

obtained. Id. ¶ 36. For example, according to language in the Order’s preamble

(but not in the Code of Federal Regulations), a visitor to “a car loan comparison

shopping website” may not “consent to” automated calls or text messages “about

loan consolidation.” Id. That rule applies even if website visitors in fact have loans

they wish to consolidate and expressly state their desire to receive calls about loan

consolidation.

      The Order acknowledges that “comparison shopping websites … benefit

consumers by enabling them to quickly compare goods and services and discover

new sellers.” Order ¶ 30; see also id. ¶ 30 n.69 (describing lead generation as “a

well-established industry that offers benefits to both consumers and advertisers”).

These websites are necessary because “[c]hoosing the right product or service in a

thriving competitive market with a sea of options can be an overwhelming task.”

A72 (Statement of Commissioner Anna Gomez). Comparison shopping websites

are also a particularly useful tool for small businesses that “face larger competitors

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for consumer attention” because the websites provide an efficient way of connecting

with “potential customers.” Id.

      Nevertheless, the Order asserts that its prescriptive new consent requirements

are necessary because lead generation is responsible for “a large percentage of

unwanted [automated] calls and texts,” and because such calls “often rely on flimsy

claims of consent.” Order ¶ 30. The only evidence the Order cites in support of

those assertions is a single comment letter from USTelecom. See id. ¶ 30 n.68. 3

That letter contains no statistics about the prevalence of unwanted automated calls

resulting from lead generation.     Instead, it simply asserts that “the robocalls

consumers are most likely to receive are lead generation robocalls they do not want”

and cites three news articles, none of which mentions lead generation. A146. Those

articles discuss various robocall scams and never suggest that performances

marketers contribute to or are in any way responsible for the scams. See id.

      The USTelecom letter is equally threadbare regarding the validity of consent

for lead-generated marketing calls. It cites only a single enforcement action (Sumco)



3
  Besides this lone comment letter, the Order does not cite any additional evidence
to support its claims that lead generation yields “a large percentage of unwanted
[automated] calls and texts” and that the underlying consent is often “flimsy.” Order
¶ 30 n.68. While the Order elsewhere cites comment letters purporting to describe
websites with hyperlinked lists that include several hundred partner companies, id.
¶¶ 30-31 nn.70-72, these comments do not provide evidence regarding the number
of calls consumers actually receive from those websites, or that any such calls
represent “a large percentage” of the overall number of unwanted calls.
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on that issue, involving a fraudulent overseas enterprise that, in stark contrast to the

comparison shopping websites IMC members operate and partner with,

“intentionally violated, or at least ignored, the TCPA’s consent requirements.”

A146; Sumco, 37 FCC Rcd. at 15,446-47 ¶¶ 45-47.              In Sumco, the overseas

enterprise “placed more than five billion prerecorded voice messages” in a three-

month span, and the evidence showed that the enterprise lacked consent for its calls.

37 FCC Rcd. at 15,445-46 ¶¶ 43-45; see also FCC, Report to Congress, 2022 WL

17958839, at *6 (addressing problems posed by “[f]oreign-originated calls”).

      The Order applies the one-to-one-consent and logically-and-topically-related

requirements only to automated marketing calls. Other types of solicitations, such

as fundraising calls from political or charity organizations, and “informational” calls

are not covered by the new regulations. See 47 C.F.R. § 64.1200(a)(2)-(3) (requiring

“prior express consent” or no consent at all, rather than “prior express written

consent,” for certain classes of calls). 4 As a result, the Order will have no effect on

the volume of unwanted calls and texts from political organizations, even though

some voters have “reporte[d] receiv[ing] 20 [such] calls in a single day.”



4
  The Commission’s rules generally divide calls into two groups: marketing calls
and “informational” calls, which are subject to fewer restrictions and include calls
and text messages from political campaigns, advocacy organizations, charities, and
other non-commercial entities. See, e.g., 47 C.F.R. § 64.1200(a)(2)-(3); In re Rules
and Regulations Implementing the Telephone Consumer Protection Act of 1991,
2024 WL 668031, ¶¶ 29-30 (F.C.C. Feb. 15, 2024).
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Congressional Research Service, Automated Political Telephone Calls (“Robo

Calls”) in Federal Campaigns: Overview and Policy Options 9 (Mar. 22, 2010),

https://crsreports.congress.gov/product/pdf/RL/RL34361/15.

      Despite the comments from the SBA, IMC, and others regarding the draft

Order’s harmful effect on small businesses, the Commission did not modify the

substance of the one-to-one consent requirement in any respect to account for those

concerns.

      Commissioner Simington partially dissented from the Order. While he agreed

with other parts of the Order, he “strongly dissent[ed]” from the Commission’s

“approach to 1-to-1 consent in the lead generation context.” A71. Commissioner

Simington reasoned that “the factual record on the question of 1-to-1 consent is so

thin,” and the Order’s reasoning is “so impoverished,” “that it gives every

appearance of an arbitrary and capricious action.” A70. This is so because, rather

than “develop[ing] a fulsome record,” the Commission relied on a handful of

unsubstantiated assertions by third-party commenters, such as USTelecom—thus

creating a “mess” for small businesses to clean up. Id. Commissioner Simington

also explained that the one-to-one consent requirement would not achieve the

Commission’s stated goal of impeding bad actors because those entities do not “buy

leads” and paternalistic consent rules “d[o] nothing to prevent their abusive




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behavior. At all. Nothing.” Id. The Order’s one-to-one consent rule is thus solely

a “paper consumer victory for [the] Commission.” Id.

      The one-to-one consent and “logically and topically related” provisions of the

Order are scheduled to take effect on January 27, 2025. 89 Fed. Reg. at 5105.

      E.     Procedural History

      The Commission published the Order on its website on December 18, 2023.

On January 26, 2024, the Order was published in the Federal Register, 89 Fed. Reg.

5098. Later that day, IMC petitioned this Court for review of the Order. Doc. 1.

      On March 20, 2024, IMC petitioned the Commission for a partial stay of the

Order pending judicial review. A191. The Commission has not acted on that

request. On April 3, 2024, following the Commission’s inaction, IMC moved this

Court to stay the Order pending this appeal. Doc. 20. In support of its stay request,

IMC submitted declarations from two of its members—Ideal Concepts, Inc. and

Blue Ink Digital—describing the effects the Order is having and will continue to

have on their businesses. See Doc. 20-2; Doc. 20-3.

      Ideal Concepts explained that the leads it purchases “are essential to its

business,” but if the Order takes effect, all of Ideal Concepts’ existing leads will

“become worthless,” even though they were obtained in good-faith reliance on the

Commission’s existing interpretation of the TCPA. Doc. 20-2 ¶¶ 9, 11, 18. The

Order also forces Ideal Concepts to compete on an uneven playing field against


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larger companies with stronger brand identification and hinders Ideal Concepts from

connecting with customers who would benefit from its services. Id. ¶¶ 12, 14-17.

Ideal Concepts cannot offset these loses by placing live calls (rather than automated

calls) with its existing leads because automated calls permit agents responding to

consumer inquiries “to bypass the time spent dialing each of the calls and waiting as

the phone rings to see whether anyone answers,” thus allowing agents to “handle

inquiries from many more prospective customers in a given day.” Doc. 26-2 ¶ 5.

      Blue Ink Digital will face similar challenges because of the Order. While

Blue Ink Digital currently uses its technology to match consumers with the ideal

service provider after the fact (i.e., after a consumer grants consent to be contacted),

Blue Ink will no longer be able to do so if the Order takes effect. Doc. 20-3 ¶¶ 7-

10. Instead, Blue Ink Digital will be forced to develop new technology that would

allow it to make these matches in real-time, while consumers wait on a loading

screen so that they can eventually provide consent—an inconvenience that will lead

to many fewer consumers ultimately giving consent.              Id. ¶¶ 11-13.    These

development costs will increase the prices of leads, making them unaffordable for

many of Blue Ink Digital’s clients, most of whom are small businesses. Id. ¶¶ 17-

19. Because these companies depend on leads to reach potential customers, many

of them will exit the market due to the Order. Id.




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      The Commission opposed IMC’s motion for a stay. Doc. 24-1. Briefing on

IMC’s motion was completed on April 22, 2024.

                          SUMMARY OF ARGUMENT

      The Order is unlawful and should be vacated in relevant part for three reasons.

First, the Order’s redefinition of the term “prior express consent” for marketing

calls, and only marketing calls, flouts the Commission’s statutory authority twice

over. The Order impermissibly assigns different meanings to the statute depending

on the type of call at issue, providing one definition of “prior express consent” for

marketing calls and a different definition for all other types of automated calls. By

giving “th[e] same words” in a single statutory provision “different meaning[s],” the

Order “invent[s] a statute rather than interpret[ing] one.” Clark, 543 U.S. at 378.

Furthermore,    the   Order’s   one-to-one     and   logically-and-topically   related

requirements are contrary to the ordinary meaning of “prior express consent.” For

example, parties often grant consent to multiple parties through a single act, and

courts (including this Court) have held that multiparty consent is valid under the

TCPA. The Commission’s attempt to engraft new one-to-one and logically-and-

topically-related requirements onto the TCPA’s “prior express consent” provision

violates the rule that agencies “may not rewrite clear statutory terms to suit [their]

own sense of how the statute should operate.” Util. Air Regul. Grp., 573 U.S. at 328.




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      Second, the Order violates the First Amendment by applying content-based

discrimination against commercial marketing calls. Marketing calls are subject to

the Order’s additional consent requirements, but “informational calls”—including

calls and texts from political campaigns and advocacy groups—are not. Under Barr,

strict scrutiny applies where, as here, a TCPA regulation favors some kinds of

protected speech over others. The Order cannot satisfy strict scrutiny because the

Commission fails to show that the Order is an effective or appropriately tailored

means of preventing unwanted automated calls. For similar reasons, the Order

violates the First Amendment even if intermediate scrutiny applies.

      Third, the Order fails to comply with the Administrative Procedure Act’s

requirement of reasoned decisionmaking. Among other flaws, the Order provides

an inadequate basis for concluding that unwanted lead-generated calls are a

significant problem; does not explain how its additional consent requirements would

meaningfully reduce the number of unwanted automated calls; fails to address

significant comments from IMC and others; and does not justify the devastating

impact it will have on small businesses. As Commissioner Simington explained in

dissent, “the factual record” supporting the one-to-one consent requirement “is so

thin” and the Commission’s reasoning is “so impoverished” that the Order “gives

every appearance of an arbitrary and capricious action.” A70.




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                              LEGAL STANDARD

      When this Court reviews an agency order under the Hobbs Act, 28 U.S.C.

§ 2342, it “appl[ies] the standards from the Administrative Procedure Act.” Autauga

Cnty. Emergency Mgmt. Communication Dist. v. FCC, 17 F.4th 88, 98 (11th Cir.

2021). Under the APA, courts will “hold unlawful and set aside agency action …

found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A); see Bidi Vapor LLC v. FDA, 47 F.4th

1191, 1202 (11th Cir. 2022). An agency’s legal conclusions are reviewed de novo.

Meisel v. SEC, 97 F.4th 755, 761 (11th Cir. 2024).

      “[A]gency action is lawful only if it rests on a consideration of the relevant

factors,” Michigan v. EPA, 576 U.S. 743, 750 (2015), and is arbitrary and capricious

if the agency “entirely failed to consider an important aspect of the problem,” Motor

Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). While

the scope of review is narrow, this Court “do[es] not rubber stamp the action of the

agency.” Hewitt v. Comm’r, 21 F.4th 1336, 1342 (11th Cir. 2021). Instead, it

“determine[s] whether the decision was based on a consideration of the relevant

factors and whether there was a clear judgment error.” Id.




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                                    ARGUMENT

I.       THE ORDER’S ADDITIONAL CONSENT REQUIREMENTS
         EXCEED THE COMMISSION’S STATUTORY AUTHORITY.

         The Order redefines the term “prior express consent” for marketing calls (and

 only for marketing calls) in a way that exceeds the Commission’s statutory authority

 twice over. First, the Order assigns different meanings to the same statutory term

 without any basis for doing so. Second, the Order defines “prior express consent”

 for marketing calls to include additional requirements—i.e., that the consent be (1)

 obtained on a one-to-one basis and (2) logically-and-topically related to the website

 where it was obtained—that are not encompassed within that term’s ordinary

 meaning. Part III.D of the Order is thus “not in accordance with law.” 5 U.S.C.

 § 706(2)(A).

         A.     The Order Impermissibly Redefines “Prior Express Consent” to
                Mean Two Different Things.

         Generally, “an agency may not simultaneously interpret the same statute in

 two different ways.” Ford Motor Co. v. United States, 715 F.3d 906, 915-16 (Fed.

 Cir. 2013); see also Cochise Consultancy, Inc. v. United States ex rel. Hunt, 139 S.

 Ct. 1507, 1512 (2019); United States v. Bryant, 996 F.3d 1243, 1258 (11th Cir.

 2021). This presumption hardens into an outright prohibition where the agency

 seeks to define the same term in two different ways within a single provision. See

 Clark, 543 U.S. at 378; Ratzlaf v. United States, 510 U.S. 135, 143 (1994) (applying


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rule against “[a]scribing various meanings to a single iteration of” a statutory term

(citation omitted)); United States v. Jackson, 55 F.4th 846, 858-59 (11th Cir. 2022)

(courts “must construe the definition of” the same term in the same provision to

mean the same thing); Ryan v. United States, 725 F.3d 623, 627 (7th Cir. 2013)

(applying this rule). “‘[G]iv[ing] th[e] same words [of a statute] a different meaning

for each category’ of cases” is “not just frowned upon but methodologically

incoherent and categorically prohibited.” In re Woolsey, 696 F.3d 1266, 1277 (10th

Cir. 2012) (Gorsuch, J.) (quoting Clark, 543 U.S. at 371) (brackets omitted).

Agencies “must,” in short, “interpret the statute consistently.” Clark, 543 U.S. at

380.

       The Order violates that rule. According to the Order, before a marketer may

make an automated call, it must obtain (1) one-to-one consent that is (2) logically-

and-topically related to the website where consent was obtained. Order ¶¶ 30-36.

Neither of these conditions applies to consent for political fundraising calls or any

other type of automated call—even though the TCPA requires “prior express

consent” to be obtained for those calls as well.

       Nothing in the TCPA grants the Commission authority to define “prior

express consent” in different ways depending on the type of call at issue. True, the

TCPA permits the Commission to “prescribe regulations,” including certain

“exemptions” from the consent requirement. 47 U.S.C. § 227(b)(2). But the Order

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does not invoke the Commission’s authority to craft exemptions, as the Commission

has done when exercising that authority in the past.5 Nor does the Order purport to

redefine the term “prior express consent” generally and then promulgate an

exemption negating the consent requirement for non-marketers.              Thus, the

Commission may not defend (and this Court may not sustain) the Order on those

grounds. See SEC v. Chenery Corp., 332 U.S. 194, 196 (1947) (courts “must judge

the propriety of [agency] action solely by the grounds invoked by the agency”). A

defense premised on the Commission’s exemption authority would fail in any event

because the Order simply provides that “prior express consent” means one thing for

marketers and another very different thing for everyone else, such as political

campaigns and advocacy groups. That approach is unlawful. See, e.g., Clark, 543

U.S. at 378; Jackson, 55 F.4th at 858-59. 6

      In its Opposition to IMC’s stay motion, the Commission asserted that the

Order does not adopt two definitions for “prior express consent,” but merely allows



5
  See 2012 Order, 27 FCC Rcd. at 1837; In re Rules & Regulations Implementing
the Telephone Consumer Protection Act of 1991, 30 FCC Rcd. 7961, 8023 (July 10,
2015) (2015 Order); In re Rules and Regulations Implementing the Telephone
Consumer Protection Act of 1991, 7 FCC Rcd. 8752, 8755 (Oct. 16, 1992).
6
  That the Commission has required “prior express written consent” for marketing
calls since 2012 does not insulate the Order’s expansion of that requirement from
judicial review. See Kennecott Utah Copper Corp. v. Dep’t of the Interior, 88 F.3d
1191, 1213 (D.C. Cir. 1996) (“[J]udicial review of a long-standing regulation is not
barred when an agency … changes its interpretation.”).
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the meaning of that term to vary depending on “context.” Doc. 24-1 at 15. Part III.D

of the Order does not make this context argument; indeed, it does not even mention

the word context. The Commission’s defense is therefore barred by the Chenery

rule. See 332 U.S. at 196; Calcutt v. FDIC, 598 U.S. 623, 624 (2023) (agency action

may not be sustained based on new “legal rationale”).

      Regardless, the context argument fails because it relies on a distinction

without a difference. Allowing a statutory term’s meaning to change based on

“context” would swallow the rule against defining the same term differently, because

an agency could always recast its decision to use multiple definitions as instead

allowing that term’s meaning to vary depending on considerations like the nature of

the party or conduct at issue. See, e.g., Clark, 543 U.S. at 382 (rejecting “novel

interpretive approach” that “would render every statute a chameleon, its meaning

subject to change” based on the circumstances of “each individual case”); Ratzlaf,

510 U.S. at 143 (allowing variable meaning “would open Pandora’s jar”). Courts,

including this one, have rightly rejected that logic. See United States v. Santos, 553

U.S. 507, 522 (2008) (plurality opinion) (Supreme Court has “forcefully rejected”

the notion that courts may “giv[e] the same word, in the same statutory provision,

different meanings in different factual contexts.” (emphasis in original)); Cochise

Consultancy, 139 S. Ct. at 1512 (term “should [not] be read” differently “when the

Government is a party”); Bryant, 996 F.3d at 1258 (“[W]e should not interpret” a

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term—“which is only used in the statute once—[to have] different meanings

depending on who files a motion.”). 7

      B.     The Order Redefines “Prior Express Consent” in a Way That
             Conflicts with that Term’s Ordinary Meaning.

      The TCPA does not define “prior express consent.” Medley v. Dish Network,

LLC, 958 F.3d 1063, 1069-70 (11th Cir. 2020) (“[T]he TCPA is silent regarding the

means of providing or revoking consent” (quotation marks omitted)). That term

should thus be given its ordinary meaning, as informed by the surrounding statutory

context and the common-law understanding of what consent entails. See Lucoff v.

Navient Sols., LLC, 981 F.3d 1299, 1304 (11th Cir. 2020) (“We use common law

principles to interpret whether a party gave … their ‘prior express consent’ to receive

calls under the TCPA.”); Osorio, 746 F.3d at 1255 (“Congress intended for the

TCPA to incorporate the common-law meaning of consent[.]”).

      “Under the common law understanding of consent, the basic premise of

consent is that it is given voluntarily.” Id. at 1253 (quotation marks omitted). That



7
  Although the Commission cited several cases in support of its context argument,
see Doc. 24-1 at 14-15, those cases assess the scope of a consumer’s consent as a
factual matter rather than the threshold legal interpretation of the phrase “prior
express consent.” See, e.g., Schweitzer, 866 F.3d at 1279 (analyzing scope of
consumer’s revocation of consent); Blow v. Bijora, Inc., 855 F.3d 793, 804-05 (7th
Cir. 2017) (using context to conclude that consumer consented to receive texts); Van
Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1046 (9th Cir. 2017) (similar).
These cases do not support an argument that the Commission can apply different
interpretations of “prior express consent” in different contexts.
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understanding accords with the ordinary meaning of “express consent” as simply

“[c]onsent that is clearly and unmistakably stated.” Express Consent, Black’s Law

Dictionary (11th ed. 2019); see also Gorss Motels, Inc. v. Safemark Sys., LP, 931

F.3d 1094, 1100 (11th Cir. 2019) (consulting Black’s Law Dictionary regarding

related TCPA term “prior express … permission”).

      This ordinary understanding of “express consent” does not encompass the

additional conditions the Order imposes on marketing calls—i.e., that consent be

one-to-one and logically-and-topically related to the website where it was obtained.

Express consent can be “clearly and unmistakably stated” to multiple individuals at

once and on a website with no logical or topical relationship to the call being

consented to. As this Court explained in Lawrence v. Bayview Loan Servicing, LLC,

666 F. App’x 875, 879 (11th Cir. 2016), “[n]o specific method is required under the

TCPA for a caller to obtain prior consent to place automated calls.”

      The Ninth Circuit’s decision in Fober v. Management & Technology

Consultants, LLC, 886 F.3d 789 (9th Cir. 2018), is illustrative. Fober involved a

TCPA claim against a company that made an automated survey call regarding

healthcare issues. The court affirmed the award of summary judgment against the

plaintiff because she had agreed that her health care provider could disclose her

phone number to intermediaries for purposes of “quality improvement.” Id. at 793.

As the court noted, the TCPA “does not require any one method for obtaining ‘prior

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express consent.’” Id. Given the principle that “persons who knowingly release

their phone numbers have in effect given their invitation or permission to be called

at the number which they have given, absent instructions to the contrary,” and given

the plaintiff’s consent to calls from unnamed “[e]ntities” affiliated with her

healthcare provider, the court concluded that the plaintiff had consented to the call.

Id. at 791-92.

      If prior express consent can be given to multiple unnamed intermediaries at

once, as in Fober and as the Commission has previously concluded, 8 it follows that

consent can also be given to multiple named intermediaries at once, contrary to the

Order’s one-to-one consent requirement. Indeed, this Court has already held as

much regarding the related TCPA term “prior express … permission.” See Gorss

Motels, 931 F.3d at 1100-01. In Gorss Motels, hotel franchisees signed agreements

that provided “prior express … permission” for marketing faxes from the

franchisor’s affiliates. Id. Because the franchisees “gave express permission to

receive fax advertisements from affiliates,” they “c[ould] not complain that an

affiliate sent them that kind of information.” Id. The Order’s one-to-one consent

requirement cannot be reconciled with this precedent.

8
  The Commission has concluded that “a consumer’s prior express consent may be
obtained through and conveyed by an intermediary,” such as the organizer of a group
text message, in part because “Congress did not expect the TCPA to be a barrier to
normal, expected, and desired business communications.” In re GroupMe,
Inc./Skype Communications S.A.R.L. Petition for Expedited Declaratory Ruling, 29
FCC Rcd. 3442, 3444, ¶¶ 6-8 (Mar. 27, 2014).
                                         28
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      The Order’s logically-and-topically related requirement strays even further

from the ordinary meaning of “prior express consent.” On its face, that requirement

serves only to prevent consumers from consenting to calls that they would like to

receive. According to the Order, for example, a consumer on a car loan comparison

website can never consent to calls about loan consolidation—even if the consumer

has multiple loans and unmistakably states a desire to learn about consolidating

them. See Order ¶ 36 n.93. No ordinary understanding of “prior express consent”

would bar a consumer from being able to consent to such a call.

      The Order does not justify its redefinition of the term “prior express consent”

for marketing calls as an ordinary interpretation of those words. Instead, it relies on

policy grounds. See Order ¶¶ 30-36. But precedent establishes that the Commission

“cannot impose a limitation that Congress did not include,” Gorss Motels, 931 F.3d

at 1102, regardless of whether doing so would be good policy. Rewriting statutory

language is a job for Congress—not the Commission. See Util. Air Regul. Grp., 573

U.S. at 328.

      In its Opposition to IMC’s stay motion, the Commission argued that its

reinterpretation of “prior express consent” is entitled to Chevron deference. See

Doc. 24-1 at 11-13. Even assuming Chevron’s vitality, 9 the Commission’s argument

9
  The Supreme Court is reconsidering Chevron in Loper Bright Enterprises v.
Raimondo, No. 22-451, and Relentless, Inc. v. Department of Commerce, No. 22-
1219.
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fails.    Chevron applies where a statute is “ambiguous” and the agency’s

interpretation is “reasonable.” Chevron U.S.A. Inc. v. NRDC, 467 U.S. 837, 843-44

(1984). Neither condition is met here.

         While the TCPA does not define “prior express consent,” that term is not

ambiguous. Courts find ambiguity only “after employing the traditional tools of

statutory interpretation.” Am. Hosp. Ass’n v. Becerra, 596 U.S. 724, 739 (2022). As

just discussed, those tools confirm that “express consent” means “consent that is

clearly and unmistakably stated,” and precedent confirms that such consent can be

given to more than one party at a time, and for more than one topic.

         Furthermore, even if “prior express consent” were ambiguous (it is not), it

unambiguously does not encompass the Order’s additional requirements. There is

no basis to conclude that the phrase “prior express consent”—standing alone—

provides the Commission carte blanche to restrict consumers’ ability to receive

information they have affirmatively requested or on businesses’ ability to provide

that information. As this Court has recognized, “the basic premise of consent is that

it is ‘given voluntarily,’” Osorio, 746 F.3d at 1253, and the Commission’s

interpretation cannot place excessive restrictions on that concept. See United States

v. Home Concrete & Supply, LLC, 566 U.S. 478, 493 n.1 (2012) (Scalia, J.,

concurring) (“It does not matter whether the word ‘yellow’ is ambiguous when the

agency has interpreted it to mean ‘purple.’”).

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II.       THE ORDER’S DISCRIMINATION AGAINST MARKETING CALLS
          VIOLATES THE FIRST AMENDMENT.

          The Order should also be set aside because it imposes content-based

  discrimination on marketing calls in violation of the First Amendment. By applying

  more rigorous consent requirements to marketing calls than to other types of calls,

  the Order unconstitutionally infringes on the speech of performance marketers and

  service providers like IMC’s members.

          A.    The Order Is a Content-Based Restriction That Fails Under Strict
                Scrutiny.

          “Content-based laws—those that target speech based on its communicative

  content—are presumptively unconstitutional and may be justified only if the

  government proves that they are narrowly tailored to serve compelling state

  interests.” Reed, 576 U.S. at 163.10 “[T]his standard, known as strict scrutiny, is a

  notoriously difficult test, one that few laws survive.” Honeyfund.com, Inc. v.

  Governor, 94 F.4th 1272, 1277 (11th Cir. 2024); see also United States v. Playboy

  Ent. Grp., 529 U.S. 803, 818 (2000). Where strict scrutiny applies, the Commission

  “carries the burden of proof and, ‘because it bears the risk of uncertainty, ambiguous

  proof will not’ satisfy the ‘demanding standard’ it must meet.” Otto v. City of Boca




  10
    “Government regulation of speech is content based if a law applies to particular
  speech because of the topic discussed or the idea or message expressed.” Id.
                                           31
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Raton, 981 F.3d 854, 868 (11th Cir. 2020) (quoting Brown v. Ent. Merchants Ass’n,

564 U.S. 786, 799 (2011))).

      The Order is a content-based regulation subject to strict scrutiny. Its one-to-

one consent and logically-and-topically-related requirements only restrict marketing

calls and do not apply to other types of solicitations (e.g., requests for donations to

political campaigns or charities) or so-called “informational calls,”—a category the

Commission interprets to include “calls by or on behalf of tax-exempt non-profit

organizations; calls for political purposes, including political polling calls and other

calls made by politicians or political calling campaigns; and calls made for other

noncommercial purposes.” 2012 Order, 27 FCC Rcd. at 1837; see also 47 C.F.R.

§ 64.1200(a)(3). In other words, the Order disfavors some types of automated

calls—marketing calls—solely based on the “topic discussed” in those calls. Reed,

576 U.S. at 163. Indeed, the Commission would be forced to “‘examine the content

of the message that is conveyed’ to know whether” a call is subject to the Order.

Otto, 981 F.3d at 862 (quoting McCullen v. Coakley, 573 U.S. 464, 479 (2014)).

      The Supreme Court has already recognized that this type of classification is

content based. In Barr, the Court held that the TCPA’s government-debt exception

(which excepts calls to recover debts owed to the federal government from the prior

express consent requirement) is a content-based regulation of speech. 140 S. Ct. at

2347 (plurality opinion). That statute’s treatment of calls turns on “whether the

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caller is speaking about a particular topic,” which “is about as content-based as it

gets.”     Id. at 2346-47 (emphasis in original).       Because the government-debt

exception favors government-debt collection calls over “other important categories

of robocall speech, such as political speech, charitable fundraising, issue advocacy,

commercial advertising, and the like,” it had to satisfy strict scrutiny (which the

Government conceded it could not). Id. (emphasis added).

         In its Opposition to IMC’s stay motion, the Commission argued that strict

scrutiny does not apply here because the Order favors non-commercial speech over

commercial speech. The Commission based this argument on City of Austin v.

Reagan National Advertising of Austin, LLC, 596 U.S. 61 (2022), which according

to the Commission “disclaim[s]” IMC’s “reading” of Barr. Doc. 24-1 at 22. But

City of Austin never even mentions Barr. Instead, City of Austin reaffirms that

regulation of all solicitations—e.g., a restriction that “applie[s] evenhandedly to all

who wish … to solicit funds, whether for commercial or charitable reasons”—is

content-neutral, whereas regulation of only some solicitations is content-based. 596

U.S. at 72-73 (emphasis added). Because the Order does not apply its additional

consent requirements to all solicitations, but only to commercial marketing calls, it

is content-based and subject to strict scrutiny. 11


11
  To the extent dicta in Dana’s Railroad Supply v. Attorney General, 807 F.3d 1235
(11th Cir. 2015), suggests that intermediate scrutiny applies to content-based
(continued…)
                                           33
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      The Order cannot satisfy strict scrutiny. Even assuming that the Commission

has a compelling interest in restricting unwanted automated calls generally, the

Commission has failed to show either that unwanted lead-generated calls involving

legitimate businesses like IMC’s members are a genuine problem or that

discriminating against marketing calls would be a narrowly tailored way of

addressing that problem if it existed. The Order is thus unconstitutional as applied

to IMC and its members.

      First, the Order contains no evidence that unwanted marketing calls resulting

from comparison shopping websites are especially common. In fact, the Order’s

only support for the idea that “[l]ead-generated communications are a large

percentage of unwanted calls and texts,” Order ¶ 30 & n.68, is a single citation to a

comment letter that itself includes no evidence about the prevalence of such calls,

see supra pp. 14-15.      This barebones statement is not a sufficient basis for

restrictions that target only marketing calls. See Denver Area Educ. Telecomms.

Consortium, Inc. v. FCC, 518 U.S. 727, 760 (1996) (finding record insufficient to

justify statute and corresponding Commission regulations that were “overly

restrictive, sacrificing important First Amendment interests for too speculative a

gain” (cleaned up)).


restrictions on commercial speech, it is not binding and has been superseded by Barr
and City of Austin. Id. at 1246 (declining to answer what level of scrutiny applied
where regulation “collapses under any level of heightened scrutiny”).
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      In its Opposition to IMC’s stay motion, the Commission suggested that the

prevalence of unwanted lead-generated calls is supported by a letter from state

attorneys general asserting that, by “requesting an insurance quote,” an “unwitting

consumer” could receive “thousands upon thousands” of automated calls. Doc. 24-

1 at 7. But that letter does not show that consumers actually receive thousands of

calls from a single instance of consent. Instead, the letter notes only that one

particular company listed over 2,000 marketing partners and speculates that, if the

company sold a lead to all of those partners, and if all of those partners made an

automated call, an individual could theoretically receive thousands of calls. Such

“mere conjecture” is not “adequate to carry a First Amendment burden.” FEC v.

Cruz, 596 U.S. 289, 307 (2022) (cleaned up). Nor is that how IMC’s members

actually operate. See Doc. 20-3 ¶¶ 7-9; see also infra pp. 46-47.

      The Order likewise fails to explain how its requirements would reduce the

number of unwanted automated calls. See A70 (“[T]he factual record on the

question” of how mandating “1-to-1 consent” will ward off unwanted automated

calls is “thin” and its “reasoning” is “impoverished”); see also infra pp. 44-46. The

Order’s inability to establish that lead-generated calls are a significant portion of

unwanted calls is fatal to its conclusion that closing the so-called “lead-generator

loophole” will result in fewer unwanted calls. Tellingly, the Order does not even

attempt to quantify the percentage of lead-generated calls that is alleged to be

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unwanted or the extent to which the new regulations would reduce the volume of

unwanted calls. Even if the Order would reduce the number of unwanted calls by

some unknown amount, that would still not be enough to justify content-based

discrimination against marketing calls. See Brown, 564 U.S. at 803 n.9 (“[T]he

government does not have a compelling interest in each marginal percentage point

by which its goals are advanced.”).

      Second, the Order is both over- and under-inclusive. See Brown, 564 U.S. at

805 (laws subject to strict scrutiny “must be pursued by means that are neither

seriously underinclusive nor seriously overinclusive”). The Order is overinclusive

because many calls affected by its redefinition of “prior express consent” are in fact

wanted by the consumer that authorizes them. See, e.g., A127 & n.16; see also

Schweitzer, 866 F.3d at 1276 (“The TCPA … is designed to protect consumers from

receiving unwanted and intrusive telephone calls.” (emphasis added)); Fober, 886

F.3d at 792 (TCPA “aims to curb a particular type of uninvited call” and “omits from

its ambit those calls that a person agrees to receive”) (emphasis in original).

      For example, consumers can currently authorize comparison shopping

websites to match them with service providers who meet their needs, and

performance marketers use their technology and expertise to select the best matches.

See A106-07; Doc. 20-3 ¶¶ 7-8; Doc. 20-2 ¶¶ 15-16. But under the Order’s one-to-

one consent requirement, performance marketers can no longer perform this

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mutually beneficial matching process unless they develop new technology that

makes the match in real-time while the consumer waits on a loading screen, so that

the consumer can provide consent separately for each selected business—a step

many consumers inevitably will not take. Doc. 20-3 ¶ 12. By limiting automated

marketing calls to instances where consumers have individually consented to each

service provider, the Order prohibits calls for which customers have given their

“prior express consent” under any ordinary meaning of that term. See supra pp. 26-

28.

      The Order is also underinclusive because the one-to-one consent and

logically-and-topically-related restrictions only target marketing calls and do

nothing to prevent unwanted informational calls, such as barrages of calls and text

messages from political organizations. See supra pp. 15-16. Put differently, the

Order fails to advance its stated interest in preventing unwanted calls because “a law

cannot be regarded as protecting an interest of the highest order, and thus as

justifying a restriction on truthful speech, when it leaves appreciable damage to that

supposedly vital interest unprohibited.” Reed, 576 U.S. at 172 (quoting Republican

Party of Minn. v. White, 536 U.S. 765, 780 (2002)); see also Yellowbear v. Lampert,

741 F.3d 48, 60 (10th Cir. 2014) (Gorsuch, J.) (“A law’s underinclusiveness—its

failure to cover significant tracts of conduct implicating the law’s animating and




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putatively compelling interest—can raise with it the inference that the government’s

claimed interest isn’t actually so compelling after all.”).

      Here, the Order only affects one category of automated calls—commercial

marketing calls—even though the legislative findings in support of the TCPA

confirm that Americans “consider [unwanted] automated or prerecorded telephone

calls, regardless of the content or the initiator of the message, to be a nuisance and

an invasion of privacy.” 137 Cong. Rec. H11307-01, 1991 WL 250340, at *1 (Nov.

2, 1991) (emphasis added). Indeed, the Order does not explain why its heightened

consent requirements apply only to marketing calls and not to “informational” calls

from political committees, advocacy groups, fundraisers, or similar entities. See

Reed, 576 U.S. at 172 (striking down law differentiating between different types of

street signs because its “distinctions” were “hopelessly underinclusive,” as “[t]he

Town has offered no reason to believe that directional signs pose a greater threat to

safety than do ideological or political signs”).       “By singling out” automated

marketing calls for new restrictions, the Order “leaves consumers open to an

‘unlimited proliferation’ of robocalls on other topics” that would present the same

purported harms cited by the Commission. Victory Processing, LLC v. Fox, 937

F.3d 1218, 1229 (9th Cir. 2019); see also Cahaly v. Larosa, 796 F.3d 399, 406 (4th

Cir. 2015).




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       Third, there were numerous less-restrictive measures (some of which are

content neutral) that the Commission could have adopted to address its concerns

about unwanted automated calls. See Playboy, 529 U.S. at 816 (“When a plausible,

less restrictive alternative is offered to a content-based speech restriction, it is the

Government’s obligation to prove that the alternative will be ineffective to achieve

its goals.”). To rebut these alternatives, the Commission was required to “point to

evidence in the … record or present other evidence that demonstrates why the

challenged restriction, rather than a less restrictive alternative, is necessary to further

its significant interests.” Victory Processing, 937 F.3d at 1228 (citing Playboy, 529

U.S. at 820-22).

       For instance, IMC proposed requiring prior express consent agreements to

clearly and conspicuously disclose, in advance: (1) the number of callers who may

rely on a single provision of consent; (2) the maximum time period after consent is

given during which calls may be made; and (3) the types of goods or services that

may be offered on such calls.         See A178.      Other commenters also provided

suggestions, such as permitting website operators to collect TCPA consent at an

initial step (when the consumer submits an inquiry) and disclose the specific service

providers after performance marketers have completed the matching process. See

A160-61 (describing “Matched Consent Notice” process through which “a




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consumer’s consent will apply only to those entities identified … to the consumer

once the matching process occurs”); A112 (similar).

      The Order does not meaningfully address most of these alternatives, 12 nor

does it otherwise explain why clear and conspicuous disclosures would not satisfy

the Commission’s interest in limiting unwanted calls while still permitting

comparison shopping websites to match consumers with service providers in an

efficient manner. The Commission’s failure to adopt these alternatives—or explain

why they are not adequate—dooms any argument that the Order is narrowly tailored.

See Ashcroft v. ACLU, 542 U.S. 656, 670 (2004) (“Absent a showing that the

proposed less restrictive alternative would not be as effective, … the more restrictive

option … could not survive strict scrutiny.”); Playboy, 529 U.S. at 813 (“If a less

restrictive alternative would serve the Government’s purpose, the legislature must

use [it].”); FF Cosmetics FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1299 (11th

Cir. 2017) (invalidating law that “disregarded numerous and obvious less-

burdensome alternatives”). 13


12
   The Order rejects IMC’s proposal for clear and conspicuous disclosures in a
cursory footnote without substantive reasoning. Order ¶ 34 n.85. As for
QuinStreet’s match notice proposal, the Commission believed it would require
consumers to consent to calls from potentially irrelevant entities. Order ¶ 33. That
rationale overlooks the evidence showing that matching systems seek to connect
consumers with the most relevant service providers. See, e.g., A160-61.
13
  The Commission cannot save the Order by offering new rationales for why those
less-restrictive alternatives would not suffice. See Chenery, 332 U.S. at 196.
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      B.     Alternatively, the Order Fails Intermediate Scrutiny.

      Even if the Order were assessed under the commercial-speech doctrine, it

would still be unconstitutional. When that doctrine applies, the government must

show that its asserted interest is “substantial” and that its regulation of commercial

speech “directly advances” and “is not more extensive than is necessary to serve that

interest.” Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S. 557,

566 (1980). Even assuming that the Commission has a substantial interest in

restricting unwanted automated calls, the Commission “must do more than simply

posit the existence of the disease sought to be cured.” Turner Broad. Sys., Inc. v.

FCC, 512 U.S. 622, 664 (1994) (plurality opinion). It also “must demonstrate that

the recited harms are real, not merely conjectural, and that the regulation will in fact

alleviate these harms in a direct and material way.” Id.; see also Wollschlaeger v.

Governor, 848 F.3d 1293, 1312 (11th Cir. 2017) (en banc) (adopting Turner’s

standard). The Commission further must show that “less restrictive means would

fail,” United States v. Philip Morris USA Inc., 855 F.3d 321, 327 (D.C. Cir. 2017);

it “cannot rest on ‘speculation or conjecture.’” Nat’l Ass’n of Mfrs. v. SEC, 800 F.3d

518, 526 (D.C. Cir. 2015) (quoting Edenfield v. Fane, 507 U.S. 761, 770 (1993)).

As with strict scrutiny, “the burden is on the government to produce evidence to

support its restriction.” Ocheesee Creamery LLC v. Putnam, 851 F.3d 1228, 1236

(11th Cir. 2017).


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      The Commission has not carried that burden. As explained above, the Order

does not show that lead-generated calls represent “a large percentage” of unwanted

automated calls. See supra pp. 14-15. This failure alone dooms the Order’s new

mandates, because “[t]he requirement to produce evidence is essential, otherwise

[the government] could with ease restrict commercial speech in the service of other

objectives that could not themselves justify a burden on commercial expression.”

Ocheesee Creamery, 851 F.3d at 1236 (cleaned up).

      The Commission has also failed to show that its additional consent

requirements are not more extensive than necessary to serve its interest in preventing

unwanted calls. While the commercial-speech doctrine does not require the least-

restrictive means, it does not permit “completely disregarding obvious less-

burdensome alternatives.” FF Cosmetics FL, 866 F.3d at 1300. As shown above,

IMC and other commenters presented less burdensome alternatives that could have

reduced the number of unwanted calls while still protecting commercial speech. See

supra pp. 38-40. Rather than explaining why those alternatives would not serve its

interests, the Commission plowed ahead with its more restrictive proposal. When

the government “ignor[es] far less restrictive and precise means, it is likely that [a

regulation] burdens substantially more speech than necessary.” FF Cosmetics FL,

866 F.3d at 1301 (citing Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469, 479




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   (1989)); see also Ocheesee Creamery, 851 F.3d at 1240 (similar). Because that is

   what the Commission did here, the Order cannot satisfy intermediate scrutiny.

III.       THE ORDER IS ARBITRARY AND CAPRICIOUS.

           The Order’s additional consent regulations should also be vacated because

   they are arbitrary, capricious, and unsupported by the record. 5 U.S.C. § 706(2)(A).

   The Administrative Procedure Act requires reasoned decisionmaking:              The

   Commission must provide a reasoned justification for the choices it has made and

   offer meaningful responses to material comments (i.e., comments that, if credited,

   would justify a change in the Order). See State Farm, 463 U.S. at 43; Perez v.

   Mortgage Bankers Ass’n, 575 U.S. 92, 96 (2015). “If the record before the agency

   does not support the” Order, or “if the agency has not considered all relevant

   factors,” the Order is arbitrary and capricious. Fla. Power & Light Co. v. Lorion,

   470 U.S. 729, 244 (1985); see Bidi Vapor, 47 F.4th at 1202.

           Here, the Order fails the requirements of reasoned decisionmaking in three

   key respects: the Order (1) provides an inadequate factual basis for concluding that

   unwanted lead-generated calls are a significant problem or that the new restrictions

   will address the problem; (2) neglects to meaningfully respond to material

   comments; and (3) fails to justify the devastating impact it will have on small

   businesses.




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      A.     The Order Fails to Show That Unwanted Lead-Generated Calls Are
             a Significant Problem or That the New Consent Restrictions Will
             Meaningfully Reduce the Number of Unwanted Automated Calls.

      The record does not support the Commission’s conclusions that lead-

generated calls represent a significant proportion of all unwanted automated calls,

and that the Order’s new restrictions would meaningfully address the number of

unwanted automated calls.

      The entire basis for the Order’s one-to-one-consent and logically-and-

topically-related restrictions is its premise that “lead-generated communications are

a large percentage of unwanted calls and texts and often rely on flimsy claims of

consent to bombard consumers with unwanted robocalls and robotexts.” Order ¶ 30.

But remarkably, the only evidence the Order points to in support of that proposition

is USTelecom’s comments. Id. ¶ 30 n.68. As discussed above, supra pp. 14-15, the

lone paragraph USTelecom devotes to this issue provides no evidence about the

prevalence of unwanted lead-generated automated calls. USTelecom’s comments

identify only a single enforcement action concerning the lack of valid consent for

lead-generated marketing calls, which involved a fraudulent overseas entity. See

A146; supra pp. 14-15. In other words, the Order does not identify a single instance




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in which a comparison shopping website abused consumers’ consent through the so-

called “lead generator loophole.” 14

      The Order makes a similar error in asserting that its one-to-one consent

requirement will (1) “end the current practice of consumers receiving” unwanted

calls “from tens, or hundreds, of sellers—numbers that most reasonable consumers

would not expect to receive,” Order ¶ 31; and (2) “stop the practice of buried, barely

visible disclosures that … appear in fine print on a website or [are] only accessible

through a hyperlink, burdening the consumer with yet another step to be fully

informed,” id. ¶ 32. Once again, the Order provides nothing but conjecture to

support these assertions.

      There is zero evidence that, under the pre-Order consent rules, consumers

who provided consent on comparison shopping websites received “tens” or

“hundreds” of calls as a result. And there is significant evidence that this is not how

comparison shopping websites operate.            See A187 (LendingTree “matches

consumers with up to five (5) named entities that have the best offers for the criteria

provided by the consumer during the match process”); Doc. 20-3 ¶¶ 7-9 (Blue Ink




14
  The Order’s citations to sources describing hyperlinked lists, see Order ¶¶ 30-31
nn.70-72, do not establish that lead generation websites have used those lists to
actually place a substantial volume of unwanted calls. As a result, these sources
cannot fill the void left by the USTelecom letter.
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Digital “sell[s] each lead to only one service provider”). 15           Instead, as the

Commission has recognized, “a significant portion, if not the majority,” of unwanted

automated calls originate from overseas bad actors that make no effort to comply

with the TCPA and cannot be expected to abide by the Order. FCC, Report to

Congress, 2022 WL 17958839, at *6; see also supra pp. 8, 15. IMC and others made

this point repeatedly during the rulemaking proceeding, explaining that the one-to-

one consent requirement “will not make a dent in the overall volume of unwanted

calls and texts” because “[s]cammers that bombard consumers with unsolicited calls

and texts will continue their bombardment.” A181; see also A127. Commissioner

Simington did so as well, observing that bad actors are not “conscientious respecters

of regulation” and they do not “buy leads.” A70; see also id. (discussing “abusive

behaviors” by entities like an “offshore Cayman-funded organization with a call

center in Belize” that ignores the TCPA’s requirements).                But despite the

Commission’s awareness of the true problem, the Order does not consider the effect




15
   See also A180 (“[I]t is common practice in the Insurance industry for contracts
between sellers and performance marketers to expressly prohibit or limit other calls
to a consumer based on a single [consent] agreement. The number of potential
marketing partners on a list thus cannot be used to assume the number of potential
callers that may contact the consumer based on the [consent] agreement. The reason
for the lengthy list of potential sellers” is “to [address] compliance concerns.”
(citations omitted)); A124-25 & nn.8-9 (performance marketers exist to bridge gaps
because “there is no simple, universal way to connect” all the publishers, advertisers,
and consumers in many consumer-services markets).
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of these overseas robocalls, and thus overlooks “an important aspect of the problem.”

State Farm, 463 U.S. at 43.

      As Commissioner Simington summarized, “the factual record on the

question” whether the “1-to-1 consent” requirement is warranted “is so thin, and the

Report and Order so impoverished in its reasoning … that it gives every appearance

of an arbitrary and capricious action.” A70. Absent a more concrete basis for

concluding that lead-generated marketing calls are a meaningful problem or that the

Order’s restrictions will help solve the problem, the Commission’s decision to

impose its burdensome new consent requirements on these calls (and only these

calls) is arbitrary and capricious. See NLRB v. Fla. Steel Corp., 586 F.2d 436, 445

(5th Cir. 1978) (administrative findings “based on pure speculation, conjecture, and

surmise” violate the Administrative Procedure Act); 16 Nat’l Lifeline Ass’n v. FCC,

921 F.3d 1102, 1113 (D.C. Cir. 2019) (vacating rule after Commission “referred to

no evidence” to support its decision); Sorenson Communications, Inc. v. FCC, 755

F.3d 702, 707-09 (D.C. Cir. 2014) (vacating rule where Commission relied on

“speculation” and “offer[ed] no evidence suggesting there [wa]s fraud to deter” or

that rule’s mandate would deter fraud).




16
   This pre-1981 Fifth Circuit decision is binding precedent in this Court. See Bonner
v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
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      B.    The Order Does Not Meaningfully Respond to IMC’s Comments or
            Adequately Consider Alternatives.

      The Order is also arbitrary and capricious because it fails to meaningfully

address the concerns raised in comments from interested parties, including IMC.

Agencies have a duty to consider and meaningfully respond to comments during the

rulemaking. See Hewitt, 21 F.4th at 1342. 17 It is not enough that an agency merely

respond to comments.      Instead, “it must respond in a reasoned manner” by

“explain[ing] how the agency resolved any significant problems raised by the

comments” and “show[ing] how that resolution led the agency to the ultimate rule.”

Action on Smoking & Health v. Civil Aeronautics Bd., 699 F.2d 1209, 1216 (D.C.

Cir. 1983) (quotation marks omitted, emphasis added); see also Bloomberg L.P. v.

SEC, 45 F.4th 462, 477 (D.C. Cir. 2022) (similar). In addition, the agency is

“required to consider responsible alternatives to its chosen policy and to give a

reasoned explanation for its rejection of such alternatives.” Am. Radio Relay

League, Inc. v. FCC, 524 F.3d 227, 242 (D.C. Cir. 2008) (citation omitted).

      The Order does not adequately address two sets of comments:             IMC’s

comments about the breadth of the logically-and-topically-related requirement, and

the comments by IMC and others proposing less-restrictive alternatives.




17
    The Commission cannot cure this omission by offering new rationales during
litigation. See Chenery, 332 U.S. at 196.
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      On the logically-and-topically-related requirement, IMC explained that the

Order “mandate[s] an arbitrary nexus between a website’s general content and other

content (including, for example, an advertising webform) that is presented on that

website.” A178. Under the Order, “a consumer could never be permitted to provide

consent to receive calls about loan consolidation simply due to the fact that the

website generally promotes loan comparison.” Id. The Order offers only a flawed

tautology in response: the Commission “disagrees with IMC’s contention that on a

loan comparison website a consumer can be solicited about loan consolidation,”

because “a consumer giving consent on a car loan comparison shopping website does

not consent to” calls “about loan consolidation.” Order ¶ 36 & n.93. But that

tautology ignores IMC’s key point. If consumers on a car loan comparison website

are asked whether they are interested in receiving an automated call about loan

consolidation—and expressly state that they are interested in receiving such a call—

there is no basis to conclude that the consumers have nevertheless failed to provide

valid consent simply because the website concerns car loans.

      The Order also failed to adequately consider the less-restrictive alternatives

proposed by IMC and others. For example, the Commission summarily dismissed

IMC’s proposal to require clear, ex ante disclosure of the number of callers who may

rely on a single provision of consent, the maximum period after consent is given

during which calls may be made, and the types of goods and services that may be

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offered on such calls. Order ¶ 34 n.85; see supra pp. 38-40. The Order suggests

that limiting the number of sellers a comparison shopping website can list—a

proposal different than IMC’s proposal—would not “provide consumers with

sufficient control” and would otherwise limit businesses’ decisions about how to

operate their websites. Order ¶ 34. But the Order does not address why IMC’s

proposal—which would include a time limit on automated calls and restrict the types

of goods and services those calls could feature—would not address the

Commission’s concerns about consumers retaining sufficient control. Nor does the

Order meaningfully address other comments offering alternative approaches that

would increase consumer control while permitting performance marketers to

continue matching consumers with the businesses best suited to their needs. See

A160-61, A112; supra pp. 38-40.        The Commission’s failure to meaningfully

address these comments renders the Order arbitrary and capricious.

      C.     The Order Ignores Its Impact on Small Businesses.

      Finally, the Order fails to justify its adverse impact on small businesses. The

Regulatory Flexibility Act requires the Commission to consider the effect of its

regulations on small businesses, including by consulting with SBA and responding

to its concerns. See 5 U.S.C. § 604. While the Regulatory Flexibility Act itself

“does not permit judicial review,” the fact that a rule subject to the Act would have

“a great impact on small businesses” can “weigh in [the] determination that a


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regulation is arbitrary, capricious, or contrary to law.” Nat’l Truck Equip. Ass’n v.

NHTSA, 919 F.2d 1148, 1157 (6th Cir. 1990). In other words, the “require[ment]

that a rule’s impact on small businesses be reasonable and reasonably explained …

is, for APA purposes, part of an agency’s explanation for its rule,” and thus a basis

for concluding that the rule is arbitrary and capricious. Nat’l Tel. Coop. Ass’n v.

FCC, 563 F.3d 536, 540 (D.C. Cir. 2009).

      Here, SBA expressed deep reservations about the Order. Specifically, SBA

cited “unease” among small businesses “regarding their future ability [under the

Order] to purchase affordable sales leads, compared to larger entities.” A176. SBA

thus asked the Commission to seek additional comment from small entities about the

one-to-one consent rule, and to “conduct a more extensive analysis of the economic

impact the proposal could have on small entities before” finalizing the Order. These

steps were necessary, SBA reasoned, because the Commission’s regulatory analyses

“underestimate[d] the impact that the [Order] would have on small entities.” Id.

Commissioner Simington echoed these concerns, explaining that the Order will

“break the backs of American small business that rely on lead generation,” and

suggesting that the Order “fail[s] regulatory flexibility analysis” because it does not

“account for the impact this action will have on small American businesses.” A70.

And Senators Tillis and Blackburn also explained to the Commission that

comparison shopping “allows smaller businesses to compete on a level field against

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larger entities,” and that “[t]he American consumer wins from this competitive

enterprise.” A189.

      The Commission rebuffed SBA’s requests, adopting the Order without any

material modifications.      The Order offers two justifications for that obstinate

approach.   First, in the Commission’s view, small businesses “can obtain the

requisite consent” by “using easily-implemented methods,” such as “offer[ing] a

check box list that allows the consumer to choose each seller that they wish to hear

from.” Order ¶ 41. Second, the Commission suggests the Order does not “restrict

the ability of businesses, including small businesses, from relying on leads generated

by third party lead generators” because they can make manual calls, rather than

automated calls. Id. ¶ 39.

      Neither of these rationales holds water. As IMC’s comments explained, small

businesses cannot compete in a single seller consent market. See A97, A152-53.

Requiring consumers to provide individual consent for each potential caller would

inevitably result in consumers choosing large, recognizable brands over smaller

companies because, as Senators Tillis and Blackburn pointed out, consumers “may

not know about and, resultingly, have not previously considered [smaller and

midsize businesses’] offerings.” A189; see also A133 & n.26. The Order’s scheme

would also burden consumers by requiring them to research and understand the

offerings of each smaller service provider before providing consent, resulting in

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fewer consumers benefiting from competition between multiple service providers

seeking their business. See supra pp. 9-10. These increased transaction costs will

choke off small businesses’ access to potential customers and eventually force small

businesses to lay off workers or leave the market altogether. A76, A174.

      The Order never grapples with these problems and seeks to excuse that

omission by opening a new round of comments about ways the Commission might

alleviate the Order’s effects on small businesses. See Order ¶ 87. That “maybe

later” approach is inadequate.     Under the Administrative Procedure Act, the

Commission was required to address “important aspect[s] of the problem” in the

Order itself, see State Farm, 463 U.S. at 43, not in a future, hypothetical further

action. Indeed, allowing agencies to defer analysis of challenging issues to future

proceedings would eviscerate the duty of reasoned decisionmaking.

      The Commission also misses the mark in suggesting that small businesses

could easily adapt to the Order by switching from automated to manual calls.

Automated calls allow small businesses in particular—which otherwise would lack

the required personnel and resources—to reach many more potential customers than

they could with manual calling alone, thus allowing them to compete with larger,

more established rivals.    See Doc. 26-1 at 11; Doc. 26-2 ¶ 5.          The Order

“recogniz[es] that” its requirements “may impact some business models more than

others,” Order ¶ 47, but does not even attempt to marshal evidence showing that

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switching to manual calls would be a viable approach for small businesses. Instead,

the Commission’s rationale consists of pure ipse dixit—and is thus arbitrary and

capricious. See Nat’l Shooting Sports Found., Inc. v. Jones, 716 F.3d 200, 214 (D.C.

Cir. 2013) (“We do not defer to an agency’s conclusory or unsupported

suppositions.” (quotation marks omitted)).

      D.     This Court Should Vacate Part III.D of the Order.

      Because Part III.D of the Order is arbitrary and capricious, the Court should

vacate it. As this Court has recognized, “vacatur is the ordinary APA remedy.”

Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271, 1290

(11th Cir. 2015). And while courts occasionally remand a deficient order without

vacatur, they only do so after considering “the seriousness of the order’s deficiencies

(and thus the extent of doubt whether the agency chose correctly) and the disruptive

consequences of an interim change that may itself be changed.” Id. (citation

omitted); see also United Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287

(D.C. Cir. 2019) (remand without vacatur is reserved for “rare cases”).

      Vacatur is the appropriate remedy here. As explained above, the challenged

regulations suffer from several defects, including that the Commission failed to

consider important issues presented by the Order, lacked supporting evidence for its

conclusions, did not meaningfully respond to significant comments and alternatives,

and ignored the Order’s effect on small businesses. Those deficiencies are serious


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not only because they are numerous, but also because they concern foundational

aspects of the Order, such as whether lead generation poses a problem worthy of

regulation in the first place and whether the new rules would do anything to cure that

problem if it existed. See Sorenson Communications, 755 F.3d at 707-10 (vacating

rule for similar reasons). Vacatur of Part III.D would also be the less disruptive

course because it would avoid the Order’s devastating effects on regulated

businesses, see Doc. 20-2 ¶¶ 23-24; Doc. 20-3 ¶¶ 22-23, while still leaving all of the

Order’s other provisions and the Commission’s preexisting enforcement tools

intact. 18   IMC’s members structured their businesses around that preexisting

regulatory framework, which has been in place since 2012, see Doc. 20-2 ¶¶ 10-11,

18-19; Doc. 20-3 ¶ 16, and the Commission’s decision to delay Part III.D’s effective

date by one year (until January 2025) suggests that vacating the challenged

regulations would not hinder the Commission’s TCPA enforcement efforts.

                                  CONCLUSION

        The Court should grant IMC’s petition for review and vacate Part III.D of the

Order and the corresponding revisions to 47 C.F.R. § 64.1200.




18
   See FCC, Unwanted Communications (July 19, 2022), https://www.fcc.gov/
enforcement/topics/unwanted-communications (describing Commission’s existing
TCPA enforcement efforts).
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               IN THE UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

                                                    )
INSURANCE MARKETING COALITION                       )
LIMITED,                                            )
                                                    )
                         Petitioner,                )
                                                    )
            v.                                      )     No. 24-10277
                                                    )
FEDERAL COMMUNICATIONS                              )
COMMISSION and UNITED STATES                        )
OF AMERICA,                                         )
                                                    )
                         Respondents.               )
                                                    )

                     CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, I hereby

certify that the foregoing brief complies with the word limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because, excluding the parts of the document

exempted by Federal Rule of Appellate Procedure 32(f), the brief contains 12,863

words. I further certify that the brief complies with the typeface and type style

requirements of Federal Rules of Appellate Procedure 32(a)(5) and 32(a)(6) because

it has been prepared in 14-point Times New Roman font.

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May 15, 2024

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           STATUTORY AND REGULATORY ADDENDUM
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5 U.S.C. § 706            Scope of Review

To the extent necessary to decision and when presented, the reviewing court shall
decide all relevant questions of law, interpret constitutional and statutory
provisions, and determine the meaning or applicability of the terms of an agency
action. The reviewing court shall—

   (1) compel agency action unlawfully withheld or unreasonably delayed; and

   (2) hold unlawful and set aside agency action, findings, and conclusions
   found to be—

      (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
      accordance with law;

      (B) contrary to constitutional right, power, privilege, or immunity;

      (C) in excess of statutory jurisdiction, authority, or limitations, or
      short of statutory right;

      (D) without observance of procedure required by law;

      (E) unsupported by substantial evidence in a case subject to sections
      556 and 557 of this title or otherwise reviewed on the record of an
      agency hearing provided by statute; or

      (F) unwarranted by the facts to the extent that the facts are subject to
      trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole record or
those parts of it cited by a party, and due account shall be taken of the rule of
prejudicial error.




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47 U.S.C. § 227            Restrictions on use of telephone equipment

(b) Restrictions on use of automated telephone equipment

    (1) Prohibitions

    It shall be unlawful for any person within the United States, or any person
    outside the United States if the recipient is within the United States—

       (A) to make any call (other than a call made for emergency purposes
       or made with the prior express consent of the called party) using any
       automatic telephone dialing system or an artificial or prerecorded
       voice—

          (i) to any emergency telephone line (including any “911” line
          and any emergency line of a hospital, medical physician or
          service office, health care facility, poison control center, or fire
          protection or law enforcement agency);

          (ii) to the telephone line of any guest room or patient room of a
          hospital, health care facility, elderly home, or similar
          establishment; or

          (iii) to any telephone number assigned to a paging service,
          cellular telephone service, specialized mobile radio service, or
          other radio common carrier service, or any service for which
          the called party is charged for the call, unless such call is made
          solely to collect a debt owed to or guaranteed by the United
          States;

       (B) to initiate any telephone call to any residential telephone line
       using an artificial or prerecorded voice to deliver a message without
       the prior express consent of the called party, unless the call is initiated
       for emergency purposes, is made solely pursuant to the collection of a
       debt owed to or guaranteed by the United States, or is exempted by
       rule or order by the Commission under paragraph (2)(B);

*            *             *

    (2) Regulations; exemptions and other provisions



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    The Commission shall prescribe regulations to implement the requirements
    of this subsection. In implementing the requirements of this subsection, the
    Commission—

       (A) shall consider prescribing regulations to allow businesses to avoid
       receiving calls made using an artificial or prerecorded voice to which
       they have not given their prior express consent;

       (B) may, by rule or order, exempt from the requirements of paragraph
       (1)(B) of this subsection, subject to such conditions as the
       Commission may prescribe—

          (i) calls that are not made for a commercial purpose; and

          (ii) such classes or categories of calls made for commercial
          purposes as the Commission determines—

              (I) will not adversely affect the privacy rights that this
              section is intended to protect; and

              (II) do not include the transmission of any unsolicited
              advertisement;

*             *            *

       (I) shall ensure that any exemption under subparagraph (B) or (C)
       contains requirements for calls made in reliance on the exemption
       with respect to—

          (i) the classes of parties that may make such calls;

          (ii) the classes of parties that may be called; and

          (iii) the number of such calls that a calling party may make to a
          particular called party.

    (3) Private right of action

    A person or entity may, if otherwise permitted by the laws or rules of court
    of a State, bring in an appropriate court of that State—

       (A) an action based on a violation of this subsection or the regulations
       prescribed under this subsection to enjoin such violation,

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       (B) an action to recover for actual monetary loss from such a
       violation, or to receive $500 in damages for each such violation,
       whichever is greater, or

       (C) both such actions.

       If the court finds that the defendant willfully or knowingly violated
       this subsection or the regulations prescribed under this subsection, the
       court may, in its discretion, increase the amount of the award to an
       amount equal to not more than 3 times the amount available under
       subparagraph (B) of this paragraph.

    (4) Civil forfeiture

       (A) In general

       Any person that is determined by the Commission, in accordance with
       paragraph (3) or (4) of section 503(b) of this title, to have violated this
       subsection shall be liable to the United States for a forfeiture penalty
       pursuant to section 503(b)(1) of this title. Paragraph (5) of section
       503(b) of this title shall not apply in the case of a violation of this
       subsection. A forfeiture penalty under this subparagraph shall be in
       addition to any other penalty provided for by this chapter. The amount
       of the forfeiture penalty determined under this subparagraph shall be
       determined in accordance with subparagraphs (A) through (F) of
       section 503(b)(2) of this title.

       (B) Violation with intent

       Any person that is determined by the Commission, in accordance with
       paragraph (3) or (4) of section 503(b) of this title, to have violated this
       subsection with the intent to cause such violation shall be liable to the
       United States for a forfeiture penalty pursuant to section 503(b)(1) of
       this title. Paragraph (5) of section 503(b) of this title shall not apply in
       the case of a violation of this subsection. A forfeiture penalty under
       this subparagraph shall be in addition to any other penalty provided
       for by this chapter. The amount of the forfeiture penalty determined
       under this subparagraph shall be equal to an amount determined in
       accordance with subparagraphs (A) through (F) of section 503(b)(2)
       of this title plus an additional penalty not to exceed $10,000.

*             *            *
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47 U.S.C. § 402          Judicial review of Commission’s orders and
                         decisions

(a) Procedure

Any proceeding to enjoin, set aside, annul, or suspend any order of the
Commission under this chapter (except those appealable under subsection (b) of
this section) shall be brought as provided by and in the manner prescribed in
chapter 158 of Title 28.




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47 C.F.R. § 64.1200        Delivery restrictions.

(a) No person or entity may:

    (1) Except as provided in paragraph (a)(2) of this section, initiate any
    telephone call (other than a call made for emergency purposes or is made
    with the prior express consent of the called party) using an automatic
    telephone dialing system or an artificial or prerecorded voice;

       (i) To any emergency telephone line, including any 911 line and any
       emergency line of a hospital, medical physician or service office,
       health care facility, poison control center, or fire protection or law
       enforcement agency;

       (ii) To the telephone line of any guest room or patient room of a
       hospital, health care facility, elderly home, or similar establishment;
       or

       (iii) To any telephone number assigned to a paging service, cellular
       telephone service, specialized mobile radio service, or other radio
       common carrier service, or any service for which the called party is
       charged for the call.

*            *             *

    (2) Initiate, or cause to be initiated, any telephone call that includes or
    introduces an advertisement or constitutes telemarketing, using an automatic
    telephone dialing system or an artificial or prerecorded voice, to any of the
    lines or telephone numbers described in paragraphs (a)(1)(i) through (iii) of
    this section, other than a call made with the prior express written consent of
    the called party or the prior express consent of the called party when the call
    is made by or on behalf of a tax-exempt nonprofit organization, or a call that
    delivers a “health care” message made by, or on behalf of, a “covered entity”
    or its “business associate,” as those terms are defined in the HIPAA Privacy
    Rule, 45 CFR 160.103.

    (3) Initiate any telephone call to any residential line using an artificial or
    prerecorded voice to deliver a message that includes or introduces an
    advertisement or constitutes telemarketing without the prior express written
    consent of the called party, or that exceeds the applicable numerical
    limitation on calls identified in paragraphs (a)(3)(ii) through (v) of this
    section without the prior express consent of the called party. A telephone
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    call to any residential line using an artificial or prerecorded voice to deliver a
    message requires no consent if the call:

       (i) Is made for emergency purposes;

       (ii) Is not made for a commercial purpose and the caller makes no
       more than three calls within any consecutive 30–day period to the
       residential line and honors the called party's request to opt out of
       future calls as required in paragraphs (b) and (d) of this section;

       (iii) Is made for a commercial purpose but does not include or
       introduce an advertisement or constitute telemarketing and the caller
       makes no more than three calls within any consecutive 30–day period
       to the residential line and honors the called party's request to opt out
       of future calls as required in paragraphs (b) and (d) of this section;

       (iv) Is made by or on behalf of a tax-exempt nonprofit organization
       and the caller makes no more than three calls within any consecutive
       30–day period to the residential line and honors the called party's
       request to opt out of future calls as required in paragraphs (b) and (d)
       of this section; or

       (v) Delivers a “health care” message made by, or on behalf of, a
       “covered entity” or its “business associate,” as those terms are defined
       in the HIPAA Privacy Rule, 45 CFR 160.103, and the caller makes no
       more than one call per day to each patient's residential line, up to a
       maximum of three calls combined per week to each patient's
       residential line and honors the called party's request to opt out of
       future calls as required in paragraphs (b) and (d) of this section.

*             *            *

(f) As used in this section:

*             *            *

    (9) The term prior express written consent means an agreement, in writing,
    bearing the signature of the person called that clearly authorizes the seller to
    deliver or cause to be delivered to the person called advertisements or
    telemarketing messages using an automatic telephone dialing system or an
    artificial or prerecorded voice, and the telephone number to which the


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  signatory authorizes such advertisements or telemarketing messages to be
  delivered.

      (i) The written agreement shall include a clear and conspicuous
      disclosure informing the person signing that:

         (A) By executing the agreement, such person authorizes the
         seller to deliver or cause to be delivered to the signatory
         telemarketing calls using an automatic telephone dialing system
         or an artificial or prerecorded voice; and

         (B) The person is not required to sign the agreement (directly or
         indirectly), or agree to enter into such an agreement as a
         condition of purchasing any property, goods, or services.

  (ii) The term “signature” shall include an electronic or digital form of
  signature, to the extent that such form of signature is recognized as a valid
  signature under applicable federal law or state contract law.

  *         *            *




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